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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

TARA HALL AS PERSONAL
REPRESENTATIVE OF THE ESTATE
OF MARCEL THEO HALL, and
derivatively on behalf of Biz Markie, Inc.
11206 Champlain Circle                            CASE NO: 1:22-cv-00806-CKK
Bowie, MD 20720

       Plaintiff,

vs.

BIZ MARKIE, INC., a Washington, D.C.
corporation
1328 U St. NW #1W
Washington, D.C. 20009-7503, and

JENNIFER IZUMI, individually
1905 15th Street NW
Washington, D.C. 20009

       Defendants.


                                NOTICE OF APPEARANCE

       Pursuant to the Court’s April 18, 2022 Minute Order granting the Motion for Leave to

Appear Pro Hac Vice and instructing counsel to file a Notice of Appearance, Plaintiff respectfully

requests that the Court enters the appearance of the following as counsel for Plaintiff Tara Hall,

As Personal Representative of The Estate of Marcel Theo Hall and derivatively on behalf of Biz

Markie, Inc., in the above-captioned case:

                             Alan S. Clarke, Esq.
                             Greenspoon Marder LLP
                             1230 Peachtree Street NE, Suite 1900
                             Atlanta, GA 30309
                             Tel.: (470) 466-1714
                             Email: Alan.Clarke@gmlaw.com
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Dated: April 20, 2022         /s/ Benjamin E. Horowitz
                              Benjamin E. Horowitz (D.C. Bar No. 1017262)
                              Venable LLP
                              600 Massachusetts Avenue, NW
                              Washington, DC 20001
                              Tel: (202) 344-4494
                              Fax: (202) 344-8300
                              BEHorowitz@Venable.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of April, 2022, I caused the foregoing to be served via

US mail on the defendant and registered agent, and their counsel, as follows:


                                       Biz Markie, Inc., a Washington, D.C. corporation
                                       Serve: Jennifer Izumi, Resident Agent 1328
                                       U St. NW #1W
                                       Washington, D.C. 20009-7503

                                       Jennifer Izumi
                                       1905 15th Street NW
                                       Washington, D.C. 20009

                                       Billy Martin
                                       Barnes & Thornburg LLP
                                       717 Pennsylvania Avenue NW
                                       Suite 500
                                       Washington, DC 20006



                                       /s/ Benjamin E. Horowitz
